                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


    TERRENCE SAMUEL CROWLEY,
                          Plaintiff,
       vs.
                                                Case No. 3:19-cv-00203-TMB
    PROVIDENCE HEALTH SERVICES,

                          Defendants.


                                ORDER OF DISMISSAL

         Terrence Samuel Crowley filed a civil rights complaint in the United States

District Court for the Eastern District of Missouri, which was transferred to this

Court. 1 Mr. Crowley alleged that on March 15, 2017, Providence Health Services

discriminated against him in Anchorage, Alaska. 2

         On September 10, 2019, this Court issued an Order of Dismissal with Leave

to Amend advising Mr. Crowley of the deficiencies in his complaint and instructing

him to either submit an amended complaint or a notice of voluntary dismissal by

October 11, 2019. 3 Additionally, the Court cautioned that “If Mr. Crowley fails to

fully comply with this Order on or before October 11, 2019, this case will be

dismissed without further notice.”



1   Dockets 1, 4.
2   Docket 1 at 6-8.
3   Docket 7.




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       Mr. Crowley has filed neither an amended complaint, nor a notice of

voluntary dismissal. Mr. Crowley has not complied with the Court’s prior order.

Therefore, this case is DISMISSED.

       IS IT SO ORDERED.

       DATED at Anchorage, Alaska, this 21st day of October, 2019.

                                             /s/ Timothy M. Burgess
                                             TIMOTHY M. BURGESS
                                             UNITED STATES DISTRICT JUDGE




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